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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
 IN RE: ZANTAC (RANITIDINE)                                                           MDL NO 2924
 PRODUCTS LIABILITY                                                                    20-MD-2924
 LITIGATION
                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART

                                             /

 THIS DOCUMENT RELATES TO:                                         JURY TRIAL DEMANDED
  Harold Hanson
 (Plaintiff Name(s))

                         SHORT-FORM COMPLAINT – VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine) Products

 Liability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint –

 Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s Orders regarding

 motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                           I.       PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) Harold Hanson              (“Plaintiff(s)”) brings this action (check the
                applicable designation):

                                 On behalf of [himself/herself];



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                               In representative capacity as the                                 on
                               behalf of the injured party, (Injured Party’s Name)
                                                      .

        2.      Injured Party is currently a resident and citizen of (City, State)
                North Augusta, SC               and claims damages as set forth below.

                                                        —OR—

                Decedent died on (Month, Day, Year)                         At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                                            .

 If any party claims loss of consortium,

        3.                              (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State)                       .

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City,
                State)

    B. DEFENDANT(S)

        6.      Plaintiff(s) name(s) the following Defendants from the Amended Master Personal
                Injury Complaint in this action:

                   a. Brand-Name Manufacturers:
                         Boehringer Ingelheim Corp. ; Boehringer Ingelheim Pharmaceuticals,
                        Inc. ; Boehringer Ingelheim USA Corp.; GlaxoSmithKline Inc. ;
                        GlaxoSmithKline LLC; Patheon Manufacturing Services LLC; Pfizer Inc. ;
                        John Doe
                   b. Generic Manufacturers:
                        John Doe



                   c. Distributors and Repackager:

                        The Kroger Co.; Walmart Inc.; John Doe




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                d. Retailers:
                     The Kroger Co.; Walmart Inc.; John Doe



                e. Others Not Named in the AMPIC:
                     John Doe



    C. JURISDICTION AND VENUE

       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this
             action in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the
             District Court to which their original action was removed]:
             District of South Carolina
       8.    Jurisdiction is proper upon diversity of citizenship.

                                       II.     PRODUCT USE

       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                            By prescription

                            Over the counter


       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) 1/1990          to 1/2008             .

                                    III.     PHYSICAL INJURY

       11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

 Check all Cancer Type                                          Approximate Date of Diagnosis
 that apply
            BLADDER CANCER                                                  05/01/2005
            BREAST CANCER
            COLORECTAL/INTESTINAL CANCER
            ESOPHAGEAL CANCER
            GASTRIC CANCER



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                 KIDNEY CANCER
                 LIVER CANCER
                 LUNG CANCER
                 PANCREATIC CANCER
                 PROSTATE CANCER
                 OTHER CANCER:

                 DEATH (CAUSED BY CANCER)

          12.     Defendants, by their actions or inactions, proximately caused the injuries to
                  Plaintiff(s).

                                IV.     CAUSES OF ACTION ASSERTED

          13.     The following Causes of Action asserted in the Amended Master Personal Injury
                  Complaint are asserted against the specified defendants in each class of
                  Defendants enumerated therein, and the allegations with regard thereto are
                  adopted in this Short Form Complaint by reference.

          14.     By checking the appropriate causes of action below, Plaintiff(s) assert these
                  causes of action based upon the law and applicable Sub-Counts of the following
                  state(s): 1
                  SC

     Check all    Count                     Cause of Action                        States for which
       that                                                                        the cause of action
      apply                                                                        was asserted in the
                                                                                   AMPIC
                    I     Strict Products Liability – Failure to Warn through      All States and
                          Warnings and Precautions (Against Brand-Name             Territories, Except
                          Manufacturer Defendants)                                 DE, IA, MA, NC,
                                                                                   PA, and VA
                   II     Negligence – Failure to Warn through Warnings            All States and
                          and Precautions (Against Brand-Name                      Territories, Except
                          Manufacturer Defendants)                                 LA, NJ, OH, and
                                                                                   WA
                   III    Strict Products Liability – Failure to Warn through      All States and
                          Proper Expiration Dates (Against Brand-Name and          Territories, Except
                          Generic Manufacturer Defendants)                         DE, IA, MA, NC,
                                                                                   PA, and VA




 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
 a later time.


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              IV     Negligence – Failure to Warn through Proper          All States and
                     Expiration Dates (Against Brand-Name and             Territories, Except
                     Generic Manufacturer Defendants)                     LA, NJ, OH,
                                                                          Oakland WA
              V      Negligence - Failure to Warn Consumers through       CA, DE, DC, HI,
                     the FDA (Against Brand-Name and Generic              IN, KY, LA, MD,
                     Manufacturer Defendants)                             MA, MN, MO, NV,
                                                                          NY, OR, and PA
              VI     Strict Products Liability – Design Defect Due to     All States and
                     Warnings and Precautions (Against Brand-Name         Territories, Except
                     Manufacturer Defendants)                             DE, IA, MA, NC,
                                                                          PA, and VA
             VII     Strict Products Liability – Design Defect Due to     All States and
                     Improper Expiration Dates (Against Brand-Name        Territories,
                     and Generic Manufacturer Defendants)                 Excepted, IA, MA,
                                                                          NC, PA, and VA
             VIII    Negligent Failure to Test (Against Brand-Name        KS, TX
                     and Generic Manufacturer Defendants)
              IX     Negligent Product Containers: (Against Brand-        All States and
                     Name and Generic Manufacturers of pills)             Territories
              X      Negligent Storage and Transportation Outside the     All States and
                     Labeled Range (Against All Retailer and              Territories
                     Distributor Defendants)
              XI     Negligent Storage and Transportation Outside the     All States and
                     Labeled Range (Against All Brand-Name and            Territories
                     Generic Manufacturer Defendants)
             XII     XII     Negligent Misrepresentation (Against         CA only
                     Brand-Name Manufacturers by Generic Consumers
                     in California)
             XIII    Reckless Misrepresentation (Against Brand-Name       MA only
                     Manufacturers by Generic Consumers in
                     Massachusetts)
             XIV     Unjust Enrichment (Against All Defendants)           All States and
                                                                          Territories
             XV      Loss of Consortium (Against All Defendants)          All States and
                                                                          Territories
             XVI     Wrongful Death (Against All Defendants)              All States and
                                                                          Territories

             If Count XV or Count XVI is alleged, additional facts supporting the claim(s):




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                                          V.     JURY DEMAND

        15.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.

                                    VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or
        inactions and demand(s) judgment against Defendants on each of the above-referenced
        causes of action, jointly and severally to the full extent available in law or equity, as
        requested in the Amended Master Personal Injury Complaint.




 /s/ Madeline E. Pendley
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